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 6    (310) 242-2222 Facsimile
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      SAFETY HOLDINGS, INC. dba SAMBASAFETY
 8
 9
                                    UNITED STATES DISTRICT COURT
10
                                  CENTRAL DISTRICT OF CALIFORNIA
11
12
      RORY MOORE,                                 ) CASE NO. 5:22-cv-00668-JGB-KK
13                                                )
                           Plaintiff,             ) ANSWER
14                                                )
                     vs.                          )
15                                                )
      SAFETY HOLDINGS, INC. dba                   )
16    SAMBASAFETY,                                )
                                                  )
17                         Defendant.             )
                                                  )
18                                                )
                                                  )
19                                                )
20
21                   Defendant     SAFETY    HOLDINGS,      INC.    dba      SAMBASAFETY
22    (“Defendant”) hereby answers the Complaint of Plaintiff RORY MOORE
23    (“Plaintiff”) as set forth below.
24                                      JURISDICTION AND VENUE
25                   1.    Defendant admits that the FCRA is a federal law. Defendant denies
26    violating the FCRA. Defendant lacks knowledge or information sufficient to form
27    a belief about the truth of the remaining allegations in Paragraph 1 of the Complaint,
28    which also constitute legal conclusions.


      {00171701;1}                                   1
                                                                                               ANSWER
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 1                   2.    Defendant lacks knowledge or information sufficient to form a belief
 2    about the truth of the allegations in Paragraph 2 of the Complaint, which also
 3    constitute legal conclusions.
 4                   3.    Defendant lacks knowledge or information sufficient to form a belief
 5    about the truth of the allegations in Paragraph 3 of the Complaint, which also
 6    constitute legal conclusions.
 7                   4.    Defendant lacks knowledge or information sufficient to form a belief
 8    about the truth of the allegations in Paragraph 4 of the Complaint, which also
 9    constitute legal conclusions.
10                                               PARTIES
11                   5.    Upon information and belief, Defendant admits that Plaintiff is a
12    natural person, and that Montclair is located within the confines of San Bernardino
13    County. Defendant lacks knowledge or information sufficient to form a belief about
14    the truth of the remaining allegations in Paragraph 5 of the Complaint, which also
15    constitute legal conclusions.
16                   6.    Defendant admits that it is incorporated in Delaware and that its
17    principal address is 8801 Horizon Blvd NE, Albuquerque, NM 87113. Defendant
18    denies the remaining allegations in Paragraph 6 of the Complaint.
19                   7.    Defendant lacks knowledge or information sufficient to form a belief
20    about the truth of the allegations in Paragraph 7 of the Complaint.
21                                     FACTUAL ALLEGATIONS
22                   8.    Defendant incorporates by reference its responses set forth in all
23    Paragraphs above.
24                   9.    Defendant lacks knowledge or information sufficient to form a belief
25    about the truth of the allegations in Paragraph 9 of the Complaint.
26                   10.   Defendant lacks knowledge or information sufficient to form a belief
27    about the truth of the allegations in Paragraph 10 of the Complaint. Defendant
28    denies that Uber drivers are classified as employees.


      {00171701;1}                                    2
                                                                                               ANSWER
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 1                   11.   Defendant lacks knowledge or information sufficient to form a belief
 2    about the truth of the allegations in Paragraph 11 of the Complaint.
 3                   12.   Defendant lacks knowledge or information sufficient to form a belief
 4    about the truth of the allegations in Paragraph 12 of the Complaint.
 5                   13.   Defendant lacks knowledge or information sufficient to form a belief
 6    about the truth of the allegations in Paragraph 13 of the Complaint.
 7                   14.   Defendant lacks knowledge or information sufficient to form a belief
 8    about the truth of the allegations in Paragraph 14 of the Complaint.
 9                   15.   Defendant lacks knowledge or information sufficient to form a belief
10    about the truth of the allegations in Paragraph 15 of the Complaint. Defendant
11    denies that Uber drivers are classified as employees.
12                   16.   Defendant lacks knowledge or information sufficient to form a belief
13    about the truth of the allegations in Paragraph 16 of the Complaint.
14                   17.   Defendant lacks knowledge or information sufficient to form a belief
15    about the truth of the allegations in Paragraph 17 of the Complaint.
16                   18.   Defendant lacks knowledge or information sufficient to form a belief
17    about the truth of the allegations in Paragraph 18 of the Complaint.
18                   19.   Defendant lacks knowledge or information sufficient to form a belief
19    about the truth of the allegations in Paragraph 19 of the Complaint.
20                   20.   Defendant lacks knowledge or information sufficient to form a belief
21    about the truth of the allegations in Paragraph 20 of the Complaint.
22                   21.   Defendant lacks knowledge or information sufficient to form a belief
23    about the truth of the allegations in Paragraph 21 of the Complaint. The document
24    at issue is not attached to Plaintiff’s Complaint and has been updated and/or
25    modified. Defendant further responds that the document speaks for itself, and
26    denies Plaintiff’s allegations to the extent they are inconsistent with the document.
27                   22.   Defendant lacks knowledge or information sufficient to form a belief
28    about the truth of the allegations in Paragraph 22 of the Complaint. The document


      {00171701;1}                                    3
                                                                                               ANSWER
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 1    at issue is not attached to Plaintiff’s Complaint and has been updated and/or
 2    modified. Defendant further responds that the document speaks for itself, and
 3    denies Plaintiff’s allegations to the extent they are inconsistent with the document.
 4                   23.   Defendant lacks knowledge or information sufficient to form a belief
 5    about the truth of the allegations in Paragraph 23 of the Complaint.
 6                   24.   Defendant lacks knowledge or information sufficient to form a belief
 7    about the truth of the allegations in Paragraph 24 of the Complaint. The document
 8    at issue is not attached to Plaintiff’s Complaint and has been updated and/or
 9    modified. Defendant further responds that the document speaks for itself, and
10    denies Plaintiff’s allegations to the extent they are inconsistent with the document.
11                   25.   Defendant lacks knowledge or information sufficient to form a belief
12    about the truth of the allegations in Paragraph 25 of the Complaint.
13                   26.   Defendant lacks knowledge or information sufficient to form a belief
14    about the truth of the allegations in Paragraph 26 of the Complaint.
15                   27.   Defendant lacks knowledge or information sufficient to form a belief
16    about the truth of the allegations in Paragraph 27 of the Complaint. Defendant
17    further responds that the document referenced in said Paragraph speaks for itself,
18    and denies Plaintiff’s allegations to the extent they are inconsistent with the
19    document.
20                   28.   Defendant lacks knowledge or information sufficient to form a belief
21    about the truth of the allegations in Paragraph 28 of the Complaint.
22                   29.   Defendant lacks knowledge or information sufficient to form a belief
23    about the truth of the allegations in Paragraph 29 of the Complaint.
24                   30.   Defendant lacks knowledge or information sufficient to form a belief
25    about the truth of the allegations in Paragraph 30 of the Complaint.
26                   31.   Defendant lacks knowledge or information sufficient to form a belief
27    about the truth of the allegations in Paragraph 31 of the Complaint. Defendant
28    denies that Uber drivers are classified as employees.


      {00171701;1}                                    4
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 1                   32.   Defendant lacks knowledge or information sufficient to form a belief
 2    about the truth of the allegations in Paragraph 32 of the Complaint.
 3                   33.   Defendant lacks knowledge or information sufficient to form a belief
 4    about the truth of the allegations in Paragraph 33 of the Complaint.
 5                   34.   Defendant lacks knowledge or information sufficient to form a belief
 6    about the truth of the allegations in Paragraph 34 of the Complaint. Defendant
 7    further responds that the document referenced in said Paragraph speaks for itself,
 8    and denies Plaintiff’s allegations to the extent they are inconsistent with the
 9    document.
10                   35.   Defendant admits only that Plaintiff contacted Defendant on or about
11    March 7, 2022. Defendant lacks knowledge or information sufficient to form a
12    belief about the truth of the remaining allegations in Paragraph 35 of the Complaint.
13                   36.   Defendant lacks knowledge or information sufficient to form a belief
14    about the truth of the allegations in Paragraph 36 of the Complaint.
15                   37.   Defendant lacks knowledge or information sufficient to form a belief
16    about the truth of the allegations in Paragraph 37 of the Complaint. Defendant
17    denies that Uber drivers are classified as employees.
18                   38.   Defendant lacks knowledge or information sufficient to form a belief
19    about the truth of the allegations in Paragraph 38 of the Complaint. Defendant
20    further responds that the document referenced in said Paragraph speaks for itself,
21    and denies the allegations to the extent they are inconsistent with the document.
22                   39.   Defendant admits only that Plaintiff contacted Defendant on or about
23    March 10, 2022. Defendant lacks knowledge or information sufficient to form a
24    belief about the truth of the remaining allegations in Paragraph 39 of the Complaint.
25                   40.   Defendant lacks knowledge or information sufficient to form a belief
26    about the truth of the allegations in Paragraph 24 of the Complaint. Defendant
27    further responds that the document referenced in said Paragraph speaks for itself,
28    and denies the allegations to the extent they are inconsistent with the document.


      {00171701;1}                                    5
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 1                   41.   Defendant lacks knowledge or information sufficient to form a belief
 2    about the truth of the allegations in Paragraph 41 of the Complaint. Defendant
 3    further responds that the document referenced in said Paragraph speaks for itself,
 4    and denies the allegations to the extent they are inconsistent with the document.
 5                   42.   Defendant lacks knowledge or information sufficient to form a belief
 6    about the truth of the allegations in Paragraph 42 of the Complaint.
 7                   43.   Defendant denies the allegations in Paragraph 43 of the Complaint.
 8                   44.   Defendant lacks knowledge or information sufficient to form a belief
 9    about the truth of the allegations in Paragraph 44 of the Complaint.
10                   45.   Defendant lacks knowledge or information sufficient to form a belief
11    about the truth of the allegations in Paragraph 45 of the Complaint.
12                   46.   Defendant lacks knowledge or information sufficient to form a belief
13    about the truth of the allegations in Paragraph 46 of the Complaint.
14                   47.   Defendant lacks knowledge or information sufficient to form a belief
15    about the truth of the allegations in Paragraph 47 of the Complaint.
16                   48.   Defendant denies the allegations in Paragraph 48 of the Complaint.
17                   49.   Defendant lacks knowledge or information sufficient to form a belief
18    about the truth of the allegations in Paragraph 49 of the Complaint.
19                   50.   Defendant lacks knowledge or information sufficient to form a belief
20    about the truth of the allegations in Paragraph 50 of the Complaint.
21                   51.   Defendant lacks knowledge or information sufficient to form a belief
22    about the truth of the allegations in Paragraph 51 of the Complaint.
23                   52.   Defendant lacks knowledge or information sufficient to form a belief
24    about the truth of the allegations in Paragraph 52 of the Complaint.
25                   53.   Defendant lacks knowledge or information sufficient to form a belief
26    about the truth of the allegations in Paragraph 53 of the Complaint. Defendant
27    further responds that the document referenced in said Paragraph speaks for itself,
28    and denies the allegations to the extent they are inconsistent with the document.


      {00171701;1}                                     6
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 1                   54.   Defendant lacks knowledge or information sufficient to form a belief
 2    about the truth of the allegations in Paragraph 54 of the Complaint. Defendant
 3    further responds that the document referenced in said Paragraph speaks for itself,
 4    and denies Plaintiff’s allegations to the extent they are inconsistent with the
 5    document. Defendant further denies that Uber drivers are classified as employees.
 6                   55.   Defendant denies the allegations in Paragraph 55 of the Complaint.
 7                   56.   Defendant denies the allegations in Paragraph 56 of the Complaint.
 8                   57.   Defendant lacks knowledge or information sufficient to form a belief
 9    about the truth of the allegations in Paragraph 57 of the Complaint.
10                   58.   Defendant denies the allegations in Paragraph 58 of the Complaint.
11                   59.   Defendant denies the allegations in Paragraph 59 of the Complaint.
12                   60.   Defendant lacks knowledge or information sufficient to form a belief
13    about the truth of the allegations in Paragraph 60 of the Complaint.
14                   61.   Defendant lacks knowledge or information sufficient to form a belief
15    about the truth of the allegations in Paragraph 61 of the Complaint.
16                   62.   Defendant lacks sufficient knowledge or information as to whether
17    Plaintiff is ineligible to accepts trips on the Uber platform. Defendant denies the
18    remaining allegations in Paragraph 62 of the Complaint.
19                   63.   Defendant lacks knowledge or information sufficient to form a belief
20    about the truth of the allegations in Paragraph 63 of the Complaint.
21                   64.   Defendant denies the allegations in Paragraph 64 of the Complaint.
22                   65.   Defendant denies the allegations in Paragraph 65 of the Complaint.
23                                               COUNT I
24                   66.   Defendant incorporates by reference its responses set forth in all
25    Paragraphs above.
26                   67.   Defendant denies that it is a consumer reporting agency.               The
27    remaining allegations in Paragraph 67 of the Complaint constitute legal conclusions
28    to which no response is required. To the extent a response is deemed to be required,


      {00171701;1}                                     7
                                                                                                ANSWER
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 1    Defendant lacks knowledge or information sufficient to form a belief about the truth
 2    of the allegations.
 3                   68.   Defendant denies the allegations in Paragraph 68 of the Complaint.
 4                   69.   Defendant lacks knowledge or information sufficient to form a belief
 5    about the truth of the allegations in Paragraph 69 of the Complaint.
 6                   70.   Defendant denies the allegations in Paragraph 70 of the Complaint.
 7                   71.   Defendant denies the allegations in Paragraph 71 of the Complaint.
 8                   72.   Defendant denies the implication in Paragraph 72 of the Complaint
 9    that Defendant maintains “procedures that allow a driver’s license status to be
10    reported inaccurately in the face of contradictory evidence.” Defendant lacks
11    knowledge or information sufficient to form a belief about the truth of the remaining
12    allegations in said Paragraph, which also constitute legal conclusions.
13                   73.   Defendant lacks knowledge or information sufficient to form a belief
14    about the truth of the allegations in Paragraph 73 of the Complaint, which also
15    constitute legal conclusions.
16                   74.   Defendant denies the allegations in Paragraph 74 of the Complaint.
17                   75.   Defendant denies the allegations in Paragraph 75 of the Complaint.
18                   76.   Defendant denies the allegations in Paragraph 76 of the Complaint.
19                   77.   Defendant denies the allegations in Paragraph 77 of the Complaint.
20                                               COUNT II
21                   78.   Defendant incorporates by reference its responses set forth in all
22    Paragraphs above.
23                   79.   Defendant denies that it is a consumer reporting agency.               The
24    remaining allegations in Paragraph 67 of the Complaint constitute legal conclusions
25    to which no response is required. To the extent a response is deemed to be required,
26    Defendant lacks knowledge or information sufficient to form a belief about the truth
27    of the allegations.
28                   80.   Defendant denies the allegations in Paragraph 80 of the Complaint.


      {00171701;1}                                     8
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 1                   81.   Defendant denies the allegations in Paragraph 81 of the Complaint.
 2                   82.   Defendant denies the allegations in Paragraph 82 of the Complaint.
 3                   83.   Defendant denies the allegations in Paragraph 83 of the Complaint.
 4                   84.   Defendant denies the allegations in Paragraph 84 of the Complaint.
 5                   85.   Defendant lacks knowledge or information sufficient to form a belief
 6    about the truth of the allegations in Paragraph 85 of the Complaint, which also
 7    constitute legal conclusions.
 8                   86.   Defendant denies the allegations in Paragraph 86 of the Complaint.
 9                   87.   Defendant denies the allegations in Paragraph 87 of the Complaint.
10                   88.   Defendant denies the allegations in Paragraph 88 of the Complaint.
11                   89.   Defendant denies the allegations in Paragraph 89 of the Complaint.
12                                               COUNT III
13                   90.   Defendant incorporates by reference its responses set forth in all
14    Paragraphs above.
15                   91.   Paragraph 91 of the Complaint contains no affirmative allegations
16    against Defendant.            To the extent said paragraph is deemed to contain any
17    affirmative allegations, Defendant denies them. Moreover, said paragraph contains
18    legal conclusions to which no response is required.
19                   92.   Paragraph 92 of the Complaint contains no affirmative allegations
20    against Defendant.            To the extent said paragraph is deemed to contain any
21    affirmative allegations, Defendant denies them. Moreover, said paragraph contains
22    legal conclusions to which no response is required.
23                   93.   Defendant lacks knowledge or information sufficient to form a belief
24    about the truth of the allegations in Paragraph 93 of the Complaint.
25                   94.   Defendant denies the allegations in Paragraph 94 of the Complaint.
26                   95.   Defendant denies the allegations in Paragraph 95 of the Complaint.
27                                    PLAINTIFF’S JURY DEMAND
28                   96.   Defendant admits that Plaintiff demands a trial by jury.


      {00171701;1}                                     9
                                                                                                 ANSWER
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 1                                 PLAINTIFF’S PRAYER FOR RELIEF
 2                   Defendant denies that Plaintiff is entitled to any relief requested in the Prayer
 3    for Relief or elsewhere in the Complaint.
 4                                       AFFIRMATIVE DEFENSES
 5                                   FIRST AFFIRMATIVE DEFENSE
 6                   As a separate, affirmative defense, Defendant alleges that Plaintiff’s
 7    Complaint fails to state a claim upon which relief can be granted.
 8                                  SECOND AFFIRMATIVE DEFENSE
 9                   As a separate, affirmative defense, Defendant alleges that Plaintiff’s
10    Complaint, and all allegations contained therein, or portions thereof, are, or may be,
11    barred by the applicable statutes of limitations.
12                                   THIRD AFFIRMATIVE DEFENSE
13                   Plaintiff’s damages alleged in the Complaint were caused, or causally
14    contributed to, by the comparative fault, negligence, negligence per se, assumption
15    of the risk, and/or culpable conduct of Plaintiff and/or others, and the amount of
16    damages, if any, that may be recovered by Plaintiff from Defendant must be
17    diminished in the proportion that Plaintiff’s own conduct, and/or the conduct of
18    others, contributed to the cause of Plaintiff’s alleged damages.
19                                  FOURTH AFFIRMATIVE DEFENSE
20                   As a separate, affirmative defense, Defendant alleges that Plaintiff’s claims
21    are, or may be, barred because the claimed injuries and damages, if any, were or
22    may have been caused by the conduct of third parties, including, but not limited to,
23    the prior, intervening, or superseding conduct of third parties.
24                                   FIFTH AFFIRMATIVE DEFENSE
25                   As a separate, affirmative defense, Defendant alleges that it did not engage
26    in any conduct that was intentional, knowing, willful, reckless, malicious, wanton
27    or outrageous, and that Defendant at all times acted in good faith.
28    ///


      {00171701;1}                                       10
                                                                                                    ANSWER
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 1                                  SIXTH AFFIRMATIVE DEFENSE
 2                   As a separate, affirmative defense, Defendant alleges that the FCRA does not
 3    apply herein, inter alia, because Defendant is not a consumer reporting agency and
 4    did not generate a consumer report as those terms are defined under the FCRA.
 5                                SEVENTH AFFIRMATIVE DEFENSE
 6                   As a separate, affirmative defense, Defendant alleges that it acted in
 7    compliance with the FCRA and reasonably and completely reinvestigated and
 8    verified, updated, or removed all information disputed by Plaintiff.
 9                                 EIGHTH AFFIRMATIVE DEFENSE
10                   As a separate, affirmative defense, Defendant alleges that it maintained and
11    followed reasonable procedures to avoid violations of the FCRA and assure
12    maximum possible accuracy of the information concerning Plaintiff.
13                                  NINTH AFFIRMATIVE DEFENSE
14                   As a separate, affirmative defense, Defendant alleges that Plaintiff’s claims
15    are barred part or in full by the qualified immunity of 15 U.S.C. § 1681h(e).
16                                  TENTH AFFIRMATIVE DEFENSE
17                   As a separate, affirmative defense, Defendant alleges that Plaintiff’s claims
18    are, or may be, barred in part or in full by Uber’s terms and conditions.
19                               ELEVENTH AFFIRMATIVE DEFENSE
20                   As a separate, affirmative defense, Defendant alleges that federal law
21    preempts all or some of Plaintiff’s claims.
22                                TWELFTH AFFIRMATIVE DEFENSE
23                   As a separate, affirmative defense, Defendant alleges Plaintiff’s claims are
24    barred part or in full to the extent that the claim or relief sought is moot.
25                              THIRTEENTH AFFIRMATIVE DEFENSE
26                   As a separate, affirmative defense, Defendant alleges that Plaintiff’s claims
27    may be barred by the doctrines of unclean hands, laches, res judicata, waiver and/or
28    estoppel, or similar equitable doctrines.


      {00171701;1}                                     11
                                                                                                  ANSWER
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 1                             FOURTEENTH AFFIRMATIVE DEFENSE
 2                   As a separate, affirmative defense, Defendant alleges that Plaintiff’s claims
 3    are barred to the extent he lacks standing and/or jurisdiction to assert them.
 4                               FIFTEENTH AFFIRMATIVE DEFENSE
 5                   As a separate, affirmative defense, Defendant alleges, to the extent that
 6    Plaintiff claims to have suffered damages, which is disputed by Defendant, Plaintiff
 7    has failed to mitigate any such claimed damages.
 8                               DEFENDANT’S PRAYER FOR RELIEF
 9                   WHEREFORE, Defendant prays that the Complaint be dismissed with
10    prejudice, for a judgment in favor of Defendant and against Plaintiff, for all
11    attorneys’ fees and costs incurred by Defendant herein, and for such further relief
12    as the Court deems just and equitable.
13
14    DATED: June 23, 2022                           CARLSON & MESSER LLP
15
16                                                   By:     David J. Kaminski
                                                            David J. Kaminski
17                                                          Martin Schannong
                                                            Calvin W. Davis
18                                                          Attorneys for Defendant
                                                            SAFETY HOLDINGS, INC. dba
19                                                          SAMBASAFETY
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      {00171701;1}                                     12
                                                                                                  ANSWER
                                                                             CASE NO. 5:22-cv-00668-JGB-KK
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 1                                      CERTIFICATE OF SERVICE
 2                   I hereby certify that on June 23, 2022, a true and correct copy of the foregoing
 3    document entitled ANSWER was filed through the ECF system, which will send
 4    notification of such filing to the e-mail addresses associated with this case.
 5
 6    DATED: June 23, 2022                            CARLSON & MESSER LLP
 7
 8                                                    By:      David J. Kaminski
                                                              David J. Kaminski
 9                                                            Martin Schannong
                                                              Calvin W. Davis
10                                                            Attorneys for Defendant
                                                              SAFETY HOLDINGS, INC. dba
11                                                            SAMBASAFETY
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                                                                                                    ANSWER
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